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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                        §        Criminal No. 18-CR-339
                                                §
                                                §        SIM LAKE
       v.                                       §        District Judge
                                                §
                                                §        Sheila Anderson     Lanie Smith
CLINT CARR,                                     §        Case Manager        Court Reporter
HASSAN BARNES, and                              §
FRAISEL HUGHEY,                                 §        Jury Trial
                                                §        Proceeding
                                                §
                     Defendants.                §

      DEFENDANT CLINT CARR’S RESPONSE TO GOVERNMENT’S NOTICE
         TO INTRODUCE RULE 404(b) EVIDENCE: MOTION IN LIMINE

       CLINT CARR, by and through his undersigned counsel, Michael Wynne, files this

Response to the Government’s notice to introduce the following evidence under the authority of

Rule 404(b) of the Federal Rules of Evidence:

                                                I.

                           THE GOVERNMENT’S EVIDENCE

 A. Evidence of Statements to State and Federal Authorities

     1. Evidence from CC Pharmacy’s Community Pharmacy Application submitted to the Texas

      State Board of Pharmacy (TSBP);

     2. Evidence from Internal Revenue Service (IRS) forms for CC Pharmacy 2 and CC

       Pharmacy 3; and

     3. Evidence from a DEA inspection of CC Pharmacy 3.

 B. Evidence of Reports to the Texas Department of Public Safety and the TSBP, including
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     1. Evidence that Mr. Carr allegedly joined Defendants Curry’s and Barnes’ decision to

     inaccurately report CC Pharmacy’s dispensing of controlled substances to the Texas

     Department of Public Safety (DPS) in DPS Pharmacy Dispensing History Reports; and

     2. Evidence that Mr. Carr allegedly joined Defendants Curry’s and Barnes’ decision to

     inaccurately report CC Pharmacy’s dispensing of controlled substances to the TSBP;

C. Evidence of the Operations of First Choice Pharmacy;

D. Evidence that Mr. Carr sanctioned false statements made by Defendant Curry to

     drug wholesalers;

E. Evidence of a TSPB warning and Mr. Carr’s response allegedly made by Mr. Carr;

F. Evidence Related to Defendant Fraisel Hughey, including

   1.Evidence of prescriptions, ID’s, and pill bottles allegedly found at Defendant Fraisel

    Hughey’s residence; and

   2.Evidence that Defendant Hughey attempted to intimidate Lisa Jones to prevent her

      cooperation with law enforcement.

                                                 II.

    LEGAL AUTHORITY LIMITING THE ADMISSION OF EXTRINSIC BAD ACT
                    EVIDENCE UNDER RULE 404(b)


       Rule 404(b) of the Federal Rules of Evidence provides that evidence “of a crime, wrong,

or other act is not admissible to prove a person’s character in order to show that on a particular

occasion the person acted in accordance with the character.” Such evidence may be admissible for

another purpose “such as proving motive, opportunity, intent, preparation, plan, knowledge,

identity, absence of mistake, or lack of accident.”




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       At the threshold, however, there must be evidence to support a finding that the crime or act

actually occurred. United States v. Smith, 804 F.3d 724, 735 (5th Cir. 2015). The predicate question

in assessing the admissibility of an uncharged extrinsic bad act is whether there is sufficient proof

that the defendant committed a bad act. If the proof on this issue is insufficient, the evidence must

be excluded as irrelevant. Proof of an uncharged offense or bad act is sufficient if the jury could

reasonably find that the defendant committed a bad act by a preponderance of the evidence. Smith,

804 F.3d at 735 (citing Huddleston v. United States, 485 U.S. 681, 692 (1988)); United States v.

Elisor, 522 F.3d 1255, 1267 (11th Cir. 2008).

       If the proponent demonstrates that the defendant engaged in a bad act, extrinsic act

evidence under Rule 404(b) is admissible only if it meets the following two tests: (1) it is relevant

to an issue other than the defendant’s character; and (2) it possesses probative value not

substantially outweighed by its undue prejudice. Smith, 804 F.3d at 735 (citing United States v.

Beechum, 582 F.2d 898, 911 (5th Cir. 1978)). See also United States v. Ricard, 922 F.3d 639, 653-

54 (5th Cir. 2019); United States v. Crawley, 533 F.3d 349, 353-355 (5th Cir. 2008).

       The proffered evidence must be relevant for a purpose apart from showing propensity to

commit a crime. “If the prior-bad-acts evidence is relevant only for the forbidden propensity

inference, then the evidence is inadmissible under Rule 404(b)(1) and the inquiry ends.” United

States v. Garcia-Sierra, 994 F.3d 17, 29 (1st Cir. 2021).

       An uncharged bad act or crime is relevant to intent, a proper non-character issue under

Rule 404(b), “if ‘it requires the same intent to the charged offense,’ because evidence of the

uncharged offense ‘then lessens the likelihood that the defendant committed the charged offense

with innocent intent.’” Smith, at 736 (quoting Beechum, 582 F.2d at 913). If the government

satisfies its burden under the first test, that the evidence is probative of intent, the Court must then



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determine whether the probative value of the uncharged bad act substantially outweighs its undue

prejudice. Resolution of this issue involves consideration of five factors: (1) the government’s

need for the extrinsic evidence; (2) the similarity between the extrinsic act and the charged

offenses; (3) the amount of time separating the offenses; (4) the efficacy of the court’s limiting

instructions. Smith, at 736 (citing United States v. Kinchen, 729 F.3d 466, 473 (5th Cir. 2013)); and

(5) whether the bad act is “of a heinous nature” that would “incite the jury to irrational decision by

its force on human emotion.” Ricard, 922 F.3d at 654.

       Evidence of criminal activity other than the offense charged is intrinsic if it meets at least

one of three tests. If the evidence is “(1) an uncharged offense which arose out of the same

transaction or series of transactions of the charged offense, (2) necessary to complete the story of

the crime, or (3) inextricably intertwined with the evidence regarding the charged offense,” it is

admissible under Rule 401. Elisor, 522 F.3d at 1269; Crawley, 533 F.3d at 354.

                                                 III.

                          APPLICATION OF LAW TO EVIDENCE:
                                 MOTION IN LIMINE

       Application of the tests governing the admissibility of extrinsic bad act evidence under

Rule 404(b) dictates the extrinsic bad act evidence the Government would offer must not be

admitted.

        1. Material from CC Pharmacy’s Community Pharmacy Application submitted to
           the Texas State Board of Pharmacy (TSBP); evidence from Internal Revenue
           Service (IRS) forms for CC Pharmacy 2 and CC Pharmacy 3; and evidence from
           the DEA inspection of CC Pharmacy 3

       This material relates to documentation leading to the formation and licensing of CC

Pharmacy and Mr. Carr’s reported administration of the pharmacy’s operation. Admission of this

material would be predicated upon the government’s belief that Mr. Carr personally made false



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statements to federal and state authorities or deliberately affirmed false and misleading statements

in completing the forms and managing CC Pharmacy to the extent of his role. The government

asserts that this evidence is relevant to Mr. Carr’s knowledge, intent, plan, preparation or absence

of accident or mistake or is inextricably intertwined with the charged offenses. That is incorrect.

       Mr. Carr truthfully completed the applications and forms required by state and federal

regulatory authorities. If there are errors in the forms, the errors arise from mistake or Mr. Carr’s

misunderstanding of the information requested. Similarly any errors in Mr. Carr’s responses to

the regulators are grounded on his limited knowledge of the information requested. But, even if

relevant, the evidence raises nothing more than an inference that Mr. Carr’s management of the

business was negligent. Such an inference is unduly prejudicial in that it would impermissibly

suggest to the jury that it could find that evidence of negligence supports a conviction for the

charged offenses.

        2. Material suggesting that Mr. Carr allegedly joined Defendants Curry’s and
           Barnes’ decision to inaccurately report CC Pharmacy’s dispensing controlled
           substances to the Texas Department of Public Safety (DPS) in DPS Pharmacy
           Dispensing History Reports and to the TSBP

       This material ostensibly represents bad acts committed by Defendants Curry and Barnes.

Even if this material is arguably relevant to the case against Defendant Barnes, its admission would

cause unfair “spillover prejudice” to Mr. Carr. In effect the material suggests to the jury that it

could convict Mr. Carr as a result of his business association with Mr. Curry and Mr. Curry’s hand-

picked pharmacist-in-charge Defendant Barnes. The prejudice against Mr. Carr would

substantially outweigh any probative value and again suggest guilt based on negligence or

recklessness in Mr. Carr’s conduct of CC Pharmacy’s business.

       Evidence of bad acts committed by alleged co-conspirators without proof that Mr. Carr

committed the bad acts necessarily spills over and unduly prejudices Mr. Carr. The Supreme Court

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notes that “when many defendants are tried together in a complex case and they have markedly

different degrees of culpability, this risk of prejudice is heightened.” Zafiro v. United States, 506

U.S. 534, 538-39 (1993). Here, before any of this material can be considered, the government must

specifically identify and offer sufficient proof that Mr. Carr personally committed the acts. As of

now, it has not.

        3. Material relating to the Operation of First Choice Pharmacy

       Mr. Carr had absolutely no part in the operation of First Choice Pharmacy. Mr. Curry and

Mr. Barnes, not Mr. Carr, were involved in First Choice. This material may be relevant in the

government’s case against Defendant Barnes. But this material wrongly implicates and prejudices

Mr. Carr by virtue of his later association with Mr. Curry, and, indirectly, Mr. Barnes. The risk of

spillover prejudice arising to Mr. Carr from this joint trial is unacceptable. Admission of this

evidence raises the possibility of jury confusion and suggests that it could convict Mr. Carr on the

basis of his association with Mr. Curry and/or Mr. Barnes.

        4. Evidence that Mr. Carr joined and sanctioned false statements made by
           Defendant Curry to drug wholesalers

       The Government predicates admission on its belief Mr. Carr personally and deliberately

engaged in deception and made false statements to drug wholesalers. Rule 404(b) requires proof

that Mr. Carr committed a bad act. If these false statements were made by Defendant Curry or at

his suggestion, they are irrelevant on the issue of Mr. Carr’s knowledge or intent. The jury may

perceive the statements as evidence of negligence or recklessness on the part of Mr. Carr. The

material must be excluded because its relevance to Mr. Carr’s knowledge and intent is substantially

exceeded by its tendency to confuse and prejudice the jury.




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        5. Evidence from a TBSP inspection and a response allegedly made by Mr. Carr

        Admission of this evidence is predicated on the government’s belief that Mr. Carr

deliberately and falsely responded to a TSBP warning issued after an unannounced inspection of

CC Pharmacy 2 in March 2017. Mr. Carr reasonably believed that any statements he made in

response to the TBSP inspection were true to the best of his knowledge. Admission of such

evidence invites the jury to speculate that Mr. Carr was negligent and reckless in his conduct of

CC Pharmacy operations. It does not support a finding of criminal intent or knowledge of criminal

conduct. Because the evidence does not raise an inference of criminal intent, its probative value is

substantially outweighed by its prejudicial effect.

        6. Evidence of prescriptions, IDs, and pill bottles allegedly found in Defendant
           Fraisel Hughey’s residence; and Evidence that Defendant Hughey attempted to
           intimidate Lisa Jones

       This evidence is irrelevant to any issue arising in the case against Mr. Carr. The government

deems it relevant in its case against Defendant Hughey. The spillover effect of this evidence unduly

prejudices Mr. Carr. The risk of spillover prejudice arising from this joint trial is heightened by

the “heinous nature of the alleged conduct which will incite the jury to irrational decision by its

force on human emotion.” Ricard, 922 F.3d at 654.

                                                IV.

                                         CONCLUSION

       For the foregoing reasons, Mr. Carr objects to the admission of the evidence set forth in

the government’s 404(b) notice in any respect in this trial.




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                                                     Respectfully submitted,

                                                      GREGOR | WYNNE | ARNEY, PLLC

                                                      By: /s/ Michael J. Wynne
                                                      Michael J. Wynne

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                                                     COUNSEL FOR DEFENDANT CLINT CARR



                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of this document was served upon counsel of record on

this 14th day of January 2022.

                                               By: /s/ Michael J. Wynne
                                                     Michael J. Wynne


                            CERTIFICATE OF CONFERENCE

       I certify that I have communicated with lead counsel for the United States and that the

United States is opposed to this motion.

                                                By: /s/ Michael J. Wynne
                                                     Michael J. Wynne




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